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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 CENTRAL DIVISION

WHITNEY K. STEPP,                         *
                                          *
              Plaintiff,                  *
v.                                        *
                                          *
KILOLO KIJAKAZI,                          *            No. 4:20-cv-01359-JJV
Acting Commissioner,                      *
Social Security Administration,           *
                                          *
              Defendant.                  *

                                      JUDGMENT

       Consistent with the Order that was entered on this day, it is CONSIDERED, ORDERED,

and ADJUDGED that this case is DISMISSED with prejudice.

       DATED this 3rd day of December 2021.




                                         __________________________________________
                                         JOE J. VOLPE
                                         UNITED STATES MAGISTRATE JUDGE
